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                    United States Court ofAppeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
 LYLE W. CAYCE                                                 TEL. 504-310-7700
 CLERK                                                      600 S. MAESTRI PLACE,
                                                                 Suite 115
                                                           NEW ORLEANS, LA 70130

                             January 26, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
                                                                      FILED
       No.   23-50869   State of Texas v. DES                            FEB 02 2024
                        USDC No. 2:23-CV-55
                                                              CLERK, U.S.
                                                             WESTERNjOFCOURT
                                                                                TRI I
                                                                        TEXAS
Enclosed is an order entered in this case.
                                                                                    PIITY CLERK


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk


                                   By
                                   Amanda Sutton-Foy, Deputy Clerk
                                   504-310-7670
Mr.   Matt A. Crapo
Mr.   Philip Devlin
Mr.   Robert D. Green
Mr.   Conor Harvey
Mr.   Robert E. Henneke
Mr.   James Andrew Mackenzie
Mr.   Steven Andrew Myers
Mr.   Aaron Lloyd Nielson
Ms.   Melissa Nicole Patterson
Mr.   Ryan Daniel Walters
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Case: 23-50869   Document: 00517046775 Page: 1   Date Filed: 01/26/2024




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                                       No. 23-50869



   STATE OF TEXAS,

                                                                 PlaintiffAppellant,

                                           versus

   UNITED STATES DEPARTMENT OF HOMELAND SECURITY;
   ALEJAND RO MAYO RKAS, Secretary, US. Department ofHomeland
   Security; UNITED STATES CUSTOMS AND BORDER PROTECTION;
   UNITED STATES BORDER PATROL; TROY MILLER, Acting
   Commissioner, US. Customs andBorder Protection; JASON OWENS, in his
   official capacity as Chiefofthe US. Border Patrol ; JUAN BERNAL, in his
   official capacity as Acting ChiefPatrol Agent, Del Rio Sector United States
   Border Patrol,

                                                              DefendantsAppellees.


                     Appeal from the United States District Court
                          for the Western District of Texas
                                USDC No. 2:23-CV-55


   Before WILLETT, DUNCAN, and RAMIREZ, Circuit Judges.
   PER CURIAM:*




          *
              This order is unpublished pursuant to 5TH CIRCUIT RULE 47.5.
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                                        No. 23-50869


                              UNPUBLISHED ORDER
           The panel holds this appeal in abeyance and remands to the district
   court for 60 days for the limited purpose of developing the factual record.
   The panel retains jurisdiction of the appeal. See, e.g., Tong v. Lumpkin, No.
   19-7008, 2024 WL 165191, at *2_3 (5th Cir. Jan. 16, 2024) (retaining
   jurisdiction and remanding for limited factual development); Shrimpers &
   Fishermen oftheRGVv. US. Army Corps ofEng'rs, 849 F. App'x 459, 461-63
   (5th Cir. 2021) (holding petition in abeyance to permit further factual
   development). Oral argument, currently scheduled for February 8, 2024, is
   canceled and will be rescheduled expeditiously after the district court
   proceedings are completed.
         On December 19, 2023, a motions panel of our court granted Texas an
  injunction pending appeal "to prevent the United States Border Patrol from
  cutting, destroying, or otherwise interfering with concertina wire ('c-wire')
  Texas has constructed along more than 29 miles of municipal and private
  land in the Eagle Pass sector of our southern border." State v. United States
  Dep't of Homeland Sec., 88 F.4th 1127, 1130 (5th Cir. 2023). Cutting or
  moving the c-wire was permitted to address emergencies. Ibid. The court
  subsequently granted the United States' motion for an expedited appeal and
  set argument for February 8, 2024. Texas v. DHS, No. 23-50869, ECF 74.
          On January 2, 2024, the United States filed an emergency petition
  before the Supreme Court to vacate the motion panel's injunction. See DHS
  v. Texas, 23A607. The parties' briefing strenuously disputed various factual
  issues, many of which concerned matters arising after the motion panel's
  injunction.1 On    January 22, 2024, the Supreme Court vacated the injunction


          1
              Compare United States Application to Vacate the Injunction Pending Appeal,
  DHS v. Texas, No. 23A607, at 11 (U.S. Jan. 2, 2024) with Texas's Response n Opposition
  to the United States's Application to Vacate the Injunction Pending Appeal, at 33 (U.S.




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   by a 5-4 ruling unaccompanied by written opinions. DHS v. Texas, 23A607,
   2024 WL 222180 (Mem), at *1 (Jan. 22, 2024).
           In light of those developments, the panel orders a limited remand to
  the district court for 60 days. The panel respectfully requests the district
  court to make additional fact findings concerning the matters contested by
  the parties and any other matters the district court deems relevant. The panel
  leaves the form of the proceedings to the district court's wise discretion.

          Following those proceedings, the panel may request supplemental
  briefing and will reschedule oral argument in an expeditious manner to
  consider Texas's appeal.
          Accordingly, we HOLD IN ABEYANCE the appeal in No. 23-
  50869 and REMAND to the district court for 60 days in order to develop
  the factual record as set forth in this order.




  Jan. 9, 2024); compare United States's First Supplemental Memorandum, at 3-5 (U.S. Jan.
  12,2024) with Texas's Response to the United States's First Supplemental Memorandum,
  at 3-5 (U.S. Jan. 13, 2024); compare United States's Second Supplemental Memorandum,
  at 2-3 (U.S. Jan. 15, 2024) with Texas's Response to United States's Second Supplemental
  Memorandum, at 3-4 (U.S. Jan. 17, 2024).




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